













NUMBER 13-09-00085-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

MIRTA ZORILLA, 	Appellant,


v.



LAKE JAMES RECREATIONAL FACILITIES, INC.,	Appellee. 

	____________________________________________________________


On appeal from the 139th District Court  


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Benavides, and Vela


Memorandum Opinion Per Curiam	The appellant's brief in the above cause was due on April 16, 2009.  On July 8,
2009, the Clerk of the Court notified appellant that the brief had not been timely filed and
that the appeal was subject to dismissal for want of prosecution under Texas Rule of
Appellate Procedure 38.8(a)(1), unless within ten days from the date of receipt of this
letter, appellant reasonably explained the failure and the appellee was not significantly
injured by the appellant's failure to timely file a brief.  To date, no response has been
received from appellant.  

	Appellant has failed to either reasonably explain her failure to file a brief, file a
motion for extension of time to file her brief, or file her brief.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 38.8(a), 42.3(b). 

							PER CURIAM


Memorandum Opinion delivered and 

filed this the 8th day of October, 2009. 





	


